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 Attorneys for Rainier Colony Place Acquisitions, LLC

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                                     )
     In re:                                                          )    Chapter 11
                                                                     )
     BED BATH AND BEYOND INC., et.al.,                               )    Case No. 23-13359 (VFP)
                                                                     )
                                     Debtors. 1                      )    Jointly Administered
                                                                     )

          SUPPLEMENTAL LIMITED OBJECTION OF RAINIER COLONY PLACE
           ACQUISITIONS, LLC TO ASSUMPTION AND ASSIGNMENT OF NON-
         RESIDENTIAL REAL PROPERTY LEASE AND RESERVATION OF RIGHTS

              Rainier Colony Place Acquisitions, LLC (“Rainier”), by and through their undersigned

 counsel, respectfully submit this supplemental limited objection and reservation of rights (the

 “Supplemental Limited Objection”) with respect to the Limited Objection of Rainier Colony



 1
  The last four digits of Debtor Bed Bath & Beyond Inc., tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of the Debtor Bed
 Bath & Beyond Inc’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650
 Liberty Avenue, Union, New Jersey 07083.
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 Place Acquisitions, LLC to Assumption and Assignment of Non-Residential Real Property Lease

 and Reservation of Rights [docket # 1309] and the Notice of Assumption of Certain Unexpired

 Leases [docket #1157] (the “Assumption Notice”) filed by the above-captioned debtors (the

 “Debtors”) in the above-captioned cases (collectively, the “Debtors”). In support of this

 Supplemental Limited Objection, 2 Rainier respectfully represents:

                                                  Background

           1.     On April 23, 2023 (the “Petition Date’), each of the Debtorsfiled voluntary petitions

 for relief under chapter 11 of title 11 of the United States Code, as amended (the “Bankruptcy

 Code”).

           2.     As of the date hereof, Rainier (as successor-in-interest to Colony Place Plaza, LLC)

 is the owner of certain nonresidential real estate commonly known as Colony Place, located at

 Routes 3 and 44 in Plymouth, Massachusetts (the “Property”). Rainier as lessor and the Debtor

 Bed Bath & Beyond, Inc. (“BBBY”) as lessee are parties to a that certain lease agreement dated

 as of December 23, 2004 (as amended from time to time, the “Lease”), pursuant to which BBBY

 leases 20,098 square feet of nonresidential real property (the “Premises”) located at the Property.

 The Lease is a lease “of real property in a shopping center” within the meaning of section 365(b)(3)

 of the Bankruptcy Code. See In re Joshua Slocum, Ltd., 922 F.2d 1081, 1086-87 (3d Cir. 1990).

           3.     On May 22, 2023, the Court entered the Order (I) Establishing Procedures to Sell

 Certain Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief

 [docket no. 422] (the “Lease Sale Procedures Order”). Among other things, the Lease Sale

 Procedures Order approves certain procedures with respect to the Debtors’ potential sale of its

 leases.


 2
  Capitalized terms used herein but not defined shall have the meaning ascribed to them in the Court’s order
 approving bidding procedures [docket #92] (the “Bidding Procedures Order”).
                                                          2
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        4.      On June 13, 2023, the Debtors filed the Notice to Contract Parties to Potentially

 Assumed Executory Contracts and Unexpired Leases [docket # 714] (the “Potential Assumption

 Notice”), in which the Debtors stated the cure cost associated with the assumption of the Lease

 was $0. On June 23, 2023, Rainer filed the Limited Objection of Rainier Colony Place

 Acquisitions, LLC To Notice of Potential Assumption and Assignment of Non-Residential Real

 Property Lease and Reservation of Rights [docket no. 932] (the “First Objection”) in which

 Rainer asserted that the proposed cure amount for the Lease was at least $4,817.44, and reserved

 all rights to supplement the asserted cure amount. In the First Objection, Rainier also reserved all

 rights to object to a potential assignee of the Lease following an auction.

        5.      On June 19, 2023, the Debtors’ conducted an auction (the “Auction”) with respect

 to certain of its non-residential real estate leases for which it had received qualifying bids.

 Thereafter, on June 30, 2023, the Debtors filed the Assumption Notice, which provides that

 pursuant to the Lease Sale Procedures Order, the Debtors intend to assume and assign the Lease

 to Burlington Coat Factory Warehouse Corporation (“Burlington”). Assumption Notice, p. 13.

 On Exhibit A to the Assumption Notice, at number 1044, the Debtors listed the Proposed Cure

 Amount associated with assumption of the Lease at $0.

                                     Supplemental Objection

        6.      On July 11, 2023, Rainier filed the First Objection, which is incorporated in its

 entirety by reference hereto.

        7.      As noted in the FirstObjection, Rainier (as successor to Colony Place Plaza, LLC)

 as lessor and The TJX Companies, Inc. (“TJX”) as lessee are parties to that certain Lease

 Agreement dated as of December 10, 2018 (as amended from time to time, the “TJX Lease”),

 pursuant to which TJX leases certain nonresidential real property located at the Property.


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           8.     The Debtors’ assumption and assignment of the Lease to Burlington may cause

 Rainier to be in violation of the exclusivity provisions of the TJX Lease (the “Exclusivity

 Provisions”) set forth in Schedule B, Section 4(A)-(C), which provides TJX with certain

 exclusivity rights, and among other things, expressly prohibits Burlington from becoming a tenant

 at the Property.

           9.     TJX is a necessary party to these proceedings and is entitled to notice of the

 proposed assignment of the Lease to Burlington because such assignment appears to affect TJX’s

 rights.

                                         Reservation of Rights

           10.    Rainier reserves all rights to amend, modify and/or supplement theFirst Objection

 and the Supplemental Limited Objection, including with respect to the proposed assumption and

 assignment of the Lease, the lease sale processes, Rainier’s asserted cure amount, and the adequacy

 of any future performance under the provisions of Section 365(b)(3) provided by Burlington, any

 back up bidder, or any future bidder.

           WHEREFORE, Rainier respectfully requests that the Court (a) sustain the

 FirstObjection and the Supplemental Limited Objection; (b) condition the Debtors’ assumption

 and assignment of the Lease to Burlington upon: (i) notice to TJX; (ii) payment to Rainier of its

 asserted cure amounts as set forth herein, as well as any additional amounts which have accrued

 under the Lease prior to the date upon which the Lease may be assumed and assigned to

 Burlington; and (iii) the provision of adequate assurance of future performance to Rainier,

 including without limitation, Burlington’s procurement of a waiver from TJX with respect to the

 Exclusivity Provisions, and such additional adequate assurance as required by Bankruptcy Code

 section 365(b)(3); and (c) grant such other relief as is just and proper.


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  Dated: July 17, 2023        CIARDI, CIARDI & ASTIN

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                              -and-
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